45 F.3d 427NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.
    Cornelius TUCKER, Jr., Plaintiff Appellant,v.CORRECTIONAL OFFICER DEES;  Correctional Officer Lewis;Wilford Shields, Superintendent, Hoke, Correctional Center;Dr. Davenport;  Mr. Herron, Unit Manager, Hoke CorrectionalCenter, Defendants Appellees.
    No. 94-7132.
    United States Court of Appeals, Fourth Circuit.
    Submitted November 17, 1994.Decided December 22, 1994.
    
      Appeal from the United States District Court for the Middle District of North Carolina, at Rockingham.  Norwood Carlton Tilley, Jr., District Judge.  (CA-93-588)
      Cornelius Tucker, Jr., appellant pro se.  Sylvia Hargett Thibaut, Asst. Atty. Gen., Michael F. Easley, Office of the Attorney General of North Carolina, Raleigh, NC, for appellees.
      M.D.N.C.
      DISMISSED.
      Before RUSSELL and MURNAGHAN, Circuit Judges, and BUTZNER, Senior Circuit Judge.
    
    PER CURIAM
    
      1
      Appellant noted this appeal outside the thirty-day appeal period established by Fed.  R.App. P. 4(a)(1), failed to obtain an extension of the appeal period within the additional thirty-day period provided by Fed.  R.App. P. 4(a)(5), and is not entitled to relief under Fed.  R.App. P. 4(a)(6).  The time periods established by Fed.  R.App. P. 4 are "mandatory and jurisdictional."  Browder v. Director, Dep't of Corrections, 434 U.S. 257, 264 (1978) (quoting United States v. Robinson, 361 U.S. 220, 229 (1960)).  Appellant's failure to note a timely appeal or obtain an extension of the appeal period deprives this Court of jurisdiction to consider this case.  We therefore dismiss the appeal.  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    DISMISSED
    